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                     EXHIBIT J
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                                                                         One Barker Avenue
                                                                         White Plains, New York 10601
                                                                         T 914.821.1686
                                                                         M 973.954.0796
November 21, 2024                                                        isackson@leasonellis.com


VIA EMAIL – astover@crowell.com                                          Robert M. Isackson
                                                                         PARTNER
(confirmation by FedEx)

Andrew D. Stover, Esq.
Crowell & Moring LLP
455 Cityfront Plaza Drive
Suite 3600
Chicago, IL 60611


RE:   Tracer Imaging LLC’s Notice to Mixtiles, Ltd and Mixtiles USA, Inc. of Infringement of U.S.
Patent No. 12,108,889

Dear Mr. Stover:
As you know, we represent Tracer Imaging LLC (“Tracer”) in intellectual property matters. We write
to you directly as you represented in your January 25, 2024 letter to me that you are counsel for
Mixtiles, which we assume includes both (i) Mixtiles, Ltd. having a place of business at 54/3 Ahad
Haam, Tel Aviv-Jaffa, 6520216, ISRAEL, and Mixtiles USA, Inc., having a place of business at 1313 N
Market St. Ste 5100, Wilmington, Delaware, 19801, USA. If this is not the case as to one or both
Mixtiles companies, please let us know immediately so that we may direct this letter to any Mixtiles
entity that you do not represent.
This correspondence is to place Mixtiles, Ltd. and Mixtiles USA, Inc. (collectively, “Mixtiles”) on
formal notice of their infringement of Tracer’s U.S. Patent No. 12,108,889, and to preserve Tracer’s
legal rights and remedies with respect to its claim of patent infringement as described more fully
below.
As you are likely aware from my November 14, 2023 letter to David Katz of Mixtiles, Tracer owns
intellectual property rights for its products, particularly its TilePix® magnetic framing systems
which are sold at stores throughout the United States (https://tilepix.com/). Since my letter to Mr.
Katz and your January 25, 2024 response, Tracer has been granted another patent on its magnetic
framing systems, namely, U.S. Patent No. 12,108,889, which is titled Magnetic Framing System and
issued October 8, 2024 (the “’889 Patent”) (Exhibit A). The ’889 Patent is a continuation of Tracer’s
U.S. Patent No. 11,641,957 which was discussed in the prior aforementioned correspondence.
Tracer is aware that Mixtiles is offering for sale, selling, and distributing repositionable magnetic
framing systems throughout the world, including the United States, on its website
https://www.mixtiles.com/ which infringe Tracer’s’ 889 Patent, specifically. Our understanding is
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that the Mixtiles’ website https://www.mixtiles.com/ is maintained and operated by Mixtiles, Ltd.,
and that Mixtiles’ customers in the United States are directed by Mixtiles, Ltd. to purchase
products through Mixtiles USA, Inc.
We have attached a representative claim chart showing how Mixtiles’ repositionable magnetic
framing system products infringe at least claims 1 and 17-19 of the ’889 Patent (Exhibit B). The
Mixtiles product shown in Mixtiles’ instruction video, for example, presents a repositionable wall
mount and a frame having a border frame section and a center section arranged as claimed by
the ’889 Patent. The black-and-white image which is taken of the cross section of a repositionable
wall mount component of a Mixtiles product purchased in the United States, presents a
magnetically receptive rubber layer, a layer of foam, and a repositionable adhesive coat, as
claimed by the ’889 Patent, as well.
The U.S. Patent Act (35 U.S.C. § 1 et seq.) identifies any person “whoever without authority makes,
uses, offers to sell, or sells any patented invention, within the United States or imports into the
United States any patented invention” or “whoever actively induces infringement of a patent” as
an infringer, prohibits such conduct, and provides the patent owner remedies for the infringement.
35 U.S.C. §§ 271(a), (b), 281-285. By this letter Tracer is placing Mixtiles on actual notice of Tracer’s
claim of infringement pursuant to 35 U.S.C. § 287(a), and Tracer’s right to recover damages at least
for any infringement occurring after receipt of this notice. Id.
Tracer cannot permit Mixtiles’ violation of Tracer’s intellectual property rights and damage to its
business to continue and is prepared to take all steps necessary to protect its intellectual property
rights. It is also Tracer’s policy, however, to attempt to resolve these matters amicably on a
negotiated basis, if possible. Accordingly, Tracer requests that Mixtiles immediately:


      1.     Cease and desist from all further distribution and/or sale and offering for sale in the
      United States of the Mixtiles’ repositionable magnetic framing system products that infringe
      any claim of U.S. Patent No. 12,108,889;
      2.     Promptly confirm, in writing, that Mixtiles will not make, have made, use, import,
      offer for sale, advertise or sell in the United States any repositionable magnetic framing
      system products that infringe directly or indirectly any claim of US Patent No. 12,108,889;
      3.    Provide us with an accounting, in writing, of all Mixtiles’ repositionable magnetic
      framing system products which you have sold, have in inventory, or have on order from
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       your customers or suppliers; and
       4.    Provide us with an accounting, in writing, of the customers in the United States and
       respective quantities purchased of all Mixtiles’ repositionable magnetic framing system
       products.
In light of this notice, Mixtiles should not dispose of or destroy any of its remaining inventory of
the Mixtiles repositionable magnetic framing system products, and consider themselves on formal
notice of their legal duty to preserve all physical and electronic documents that relate to the
subject matter of this letter.
We trust that Mixtiles is prepared to cooperate with Tracer concerning an amicable resolution of
this matter and will confirm that understanding and respond to our other requests above by
return correspondence within two weeks from receipt of the email copy of this letter. This letter
is not intended to be a complete statement of Tracer’s rights and claims and should not be
construed as a waiver of any legal or equitable rights or remedies, all of which are expressly
reserved.
Please contact me if you have any questions. We look forward to your prompt response.
Very truly yours,




Robert Isackson


cc:    William H. Frankel, Esq. (w/enc. via email: wfrankel@crowell.com)
Enclosures
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                   EXHIBIT B
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INFRINGEMENT CLAIM CHART: claims of US Patent No. 12,108,889
Claim 1
[1.p.] A repositionable
frame system
comprising:


[1.1] a repositionable
wall mount configured
for being repositionably
secured to a support                                                               Support surface
surface,




                                                                                      Repositionable
                                                                                      wall mount




                           https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
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[1.2] the repositionable
wall mount including a
first magnetic element;
and                                                                                     Repositionable
                                                                                        wall     mount
                                                                                        having a first
                                                                                        magnetic
                                                                                        element


                            https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
[1.3] a frame having a
rear face that includes a
second magnetic                                                                         Frame front
element that is                                                                         face
magnetically attracted to
the first magnetic
element resulting in a                                                                 Frame     rear
magnetic coupling                                                                      face
between the frame and
the repositionable wall
mount;                                                                                First magnetic
                                                                                      element        of
                                                                                      repositionable
                                                                                      wall mount


                                                                                      Second
                                                                                      magnetic
                                                                                      element


                                                                                      First       and
                                                                                      second
                                                                                      magnetic
                                                                                      elements
                                                                                      magnetically
                                                                                      coupled
                                                                                      together


                            https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles

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[1.4] Wherein the frame
has a border frame                                                               Frame border frame
section that defines an                                                          section (rectangular
outer periphery of the                                                           brown border on four
frame,                                                                           sides on upper front
                                                                                 side image); three
                                                                                 sides shown on lower
                                                                                 rear side image




                             https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
[1.5] The rear face of the
frame including a center
section disposed internal                                                         Rear face frame
to the border frame                                                               center      section
section which protrudes                                                           internal to border
outwardly from the                                                                frame (three sides
center section,                                                                   shown on image)



                             https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
[1.6] the second
magnetic element being                                                             Second magnetic
located within the center                                                          element located
section and being offset                                                           within   center
and spaced from the                                                                section
border frame section so
as to define a border                                                              Border       frame
area that surrounds the                                                            section/border
second magnetic                                                                    area

                                                      3
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element and extends         https://help.mixtiles.com/en/articles/4742191-hanging-your-tiles
from an outer peripheral
edge of the second
magnetic element to the
border frame section;
wherein the
repositionable wall
mount includes a layer of
foam; a repositionable
adhesive coated over the
layer of foam and
configured for contacting
the support surface and
allowing repositioning of
the repositionable wall
mount; and a
magnetically receptive
rubber layer that is
permanently bonded to
the layer of foam.




                            Layer of foam
                            Repositionable adhesive
                            Magnetically receptive rubber layer


                            (sample cross section of a Mixtiles Magnetic Sticky)
17. The frame system of     See elements [1.4], [1.5], [1.6] above
claim 1, wherein the
border area completely
surrounds the second
magnetic element.
18. The frame system of     See elements [1.4], [1.5], [1.6] above
claim 1, wherein an area
of the border area is
                                                      4
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greater than an area of
the second magnetic
element.
19. The frame system of
claim 1, further including
an image that seats
against the border frame
section and is disposed
between a front face of
the border frame section
and a rear face of the
border frame section.




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